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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            NORTHERN DIVISION

HERMAN H. LEFORS, JR.                                                          PLAINTIFF

V.                            CASE NO. 3:20-cv-00405 JM

RICK ELLIOT, et al.                                                       DEFENDANTS


                                       JUDGMENT

       Pursuant to the order filed this date, judgment is entered dismissing this case without

prejudice; the relief sought is denied. This dismissal counts as a “strike” and the Court

certifies that an in forma pauperis appeal is considered frivolous and not in good faith.

       DATED this 11th day of January, 2021.




                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
